HON. SYLVIA O. HINDS-RADIX
Corporation Counsel
                                            THE CITY OF NEW YORK
                                           LAW DEPARTMENT
                                               100 CHURCH STREET
                                               NEW YORK, NY 10007
                                                                              The Court grants this request. The parties shall file
                                                                              the joint status letter by July 25, 2022.
                                                            June 30, 2022
                                                                              The Clerk of the Court is respectfully directed to
       BY ECF                                                                 close the motion pending at Docket Number 14.
       Honorable John P. Cronan
       United States District Court                             SO ORDERED.
       Southern District of New York                            Date: July 1, 2022            __________________________
       500 Pearl Street                                              New York, New York       JOHN P. CRONAN
       New York, New York 10007                                                               United States District Judge
                       Re:   Joseph Srour v. City of New York et. al.,
                             22-CV-0003 (JPC)
       Your Honor:
                       I am an attorney in the office of Sylvia O. Hinds-Radix, Corporation Counsel of
       the City of New York, attorney for defendants City of New York (“City”) and New York City
       Police Department (“NYPD”) Commissioner Keechant Sewell in the above-entitled action.
       Pursuant to Your Honor’s Order dated March 14, 2022, this matter was stayed pending a
       decision by the U.S. Supreme Court in the matter of New York State Rifle & Pistol Assoc. v.
       Bruen (“Bruen”), and the parties were directed to file a letter update and proposed case
       management plan or pre-motion conference letter within seven days following the issuance of
       the Bruen decision. As the Court is no doubt aware, the Bruen decision was released on June 23,
       2022. As a result of the decision, the New York State legislature has convened a special session
       beginning today to enact new firearm license laws. As such, defendants respectfully request an
       additional 30 days to file a joint update and case management plan or pre-motion conference
       letter. This brief enlargement will ensure that the parties can properly consider how this matter
       is affected by the Bruen decision and the State’s anticipated new regulations in determining their
       positions and setting a case management plan.
                      I have conferred with plaintiff’s counsel about this request, and have been
       informed that plaintiff takes no position on a 30 day enlargement of the stay and the time to
       update the court. For the reasons set forth above, defendants respectfully request that the court
       grant a 30 day enlargement, until July 25, 2022, for the parties to update the Court regarding case
       scheduling and/or motions.
                                                            Respectfully submitted,
                                                                  /S
                                                            Aimee K. Lulich
